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 1                                                     THE HONORABLE JOHN C. COUGHENOUR

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 7                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE
 9
      BERNADEAN RITTMANN, et al.,                       Consolidated Action
10                                                      Case No. C16-1554 JCC
      individually and on behalf of others similarly
11    situated,

12                   Plaintiffs,                        SUPPLEMENTAL JOINT STATUS
                                                        REPORT
13
      v.
14
      AMAZON.COM, INC. and AMAZON
15    LOGISTICS, INC.,
16
                     Defendants.
17
18

19           By Order dated May 3, 2024, the Court directed the Parties to file a joint proposal regarding

20   scheduling. ECF No. 296.

21           The Parties met and conferred and agree on the following:

22           1.      Deadline to file Motion to Dismiss First Amended Consolidated Complaint: 30
                     days after entry of an amended case management order. Briefing schedule pursuant
23                   to LR 7(d)(4): Opposition due no later than 15 days after the filing date of the
                     motion. Reply filed no later than 21 days after the filing date of the motion.
24
             2.      Deadline to file Second Amended Consolidated Complaint: 14 days after the
25                   Court rules on the Motion to Dismiss, if amendment is permitted.
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 1               3.     Deadline to file Defendants’ Motion to Compel Opt-In Discovery: 30 days after
                        entry of an amended case management order. Briefing schedule pursuant to LR
 2                      7(d)(3): Opposition due no later than 21 days after the filing date of the
                        motion. Reply filed no later than 28 days after the filing date of the motion.
 3

 4               The Parties have not reached agreement on the appropriate schedule for briefing Plaintiffs’

 5   Motion for Class Certification, Plaintiffs’ Motion for Conditional Certification of their FLSA claims,

 6   and Defendant’s Renewed Motion to Compel Arbitration. The Parties respective proposals are set

 7   forth below:

 8   Plaintiffs’ Position:

 9               Plaintiffs believe the Parties should have 90 days from the lifting of the stay (as opposed

10   to the filing of an answer or ruling on Defendant’s Motion to Dismiss) in which to complete

11   discovery directed to the Motion for Class Certification and Motion to Compel Arbitration and to

12   file said motions.1 Plaintiffs do not believe any separate schedule is necessary for expert discovery

13   and any such discovery can take place during this timeframe.

14                Plaintiffs believe they should be permitted to re-file the Motion for Conditional

15   Certification of their FLSA claims at any time once the stay is lifted. Such motions are routinely

16   filed and decided prior to any discovery. See Campbell v. City of Los Angeles, 903 F.3d 1090, 1109

17   (9th Cir. 2018) (describing the 9th Circuit’s two-stage approach to certification under § 216(b),

18   which includes an earlier, “lenient” stage,” typically focused on a review of the pleadings but []

19   sometimes [] supplemented by declarations or limited other evidence”, which usually results in “the

20   dissemination of a court-approved notice to the putative collective action members,” and a later stage

21   “at or after the close of relevant discovery” where defendants have the opportunity to move for

22   decertification in light of that discovery) (emphasis added); Adams v. Inter-Con Sec. Sys., Inc., 242

23   F.R.D. 530, 536 (N.D. Cal. 2007) (“In the second step, the party opposing the certification may move

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         Whenever these motions are filed, the Parties are in agreement that the Opposition to each motion
25       due 30 days after the filing date of the motion. The noting date and reply deadlines will be 15 days
         after the filing date of the oppositions.
26

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 1   to decertify the class once discovery is complete ….”) (emphasis added). The filing of the

 2   Conditional Certification need not await any discovery.

 3   Defendants’ Position:

 4              The Court directed the Parties to submit “a proposed revised case management schedule,

 5   through class certification (including required discovery)” regarding, among other things,

 6   “anticipated concurrent renewed motions for class certification and to compel arbitration ….” Id.

 7   (emphasis added). The Parties have engaged in limited written discovery and have not taken a

 8   deposition. The pleadings remain open. Plaintiffs’ motions for class and conditional certification

 9   implicate similar evidence and issues. It is undeniably more efficient given the procedural history

10   and posture of this case for concurrent briefing and ruling on class and conditional certification

11   motions and with the benefit of further discovery.2

12              Accordingly, Defendants propose that the Parties brief, and the Court consider, the motion

13   for conditional certification concurrently with the renewed motions for class certification and to

14   compel arbitration. Defendants are prepared to meet and confer promptly with Plaintiffs regarding

15   written discovery directed to class and conditional certification issues and scheduling depositions of

16   Plaintiffs and/or the opt-in Plaintiffs who opted out of arbitration. Defendants anticipate Plaintiffs

17   also may seek discovery. Defendants therefore propose the following schedule, in addition to the

18   deadlines on which the Parties agree:

19              4.    Deadline for discovery related to Motion for Class and Conditional
                      Certification and Motion to Compel Arbitration: 90 days after the Court rules
20                    on the Motion to Dismiss to complete fact discovery and expert depositions, if any,
                      and any expert report served within 60 days after the Court rules on the Motion to
21                    Dismiss.
22              5.    Deadline to concurrently file Motion for Class and Conditional Certification
                      and Motion to Compel Arbitration: 90 days after Defendants file an answer.
23                    Opposition to each motion due 30 days after the filing date of the motion. The
                      noting date and reply deadlines will be 15 days after the filing date of the
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       While not appropriate to address in depth here, Defendants do not concede that the two-step
26    conditional certification process outlined by Plaintiffs applies at this stage of these proceedings.

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 1                     oppositions.3

 2
               Dated: May 10, 2024
 3
     Respectfully submitted,
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     3
25    Again, whenever these motions are filed, the Parties are in agreement that the Opposition to
     each motion due 30 days after the filing date of the motion. The noting date and reply deadlines
26   will be 15 days after the filing date of the oppositions.

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